Case: 4:23-cv-01729-JMB         Doc. #: 46      Filed: 03/27/25     Page: 1 of 7 PageID #: 300




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

TAREN RUTZ,                       )
                                  )
        Plaintiff,                )
                                  )
    vs.                           )                  Case No. 4:23 CV 1729 JMB
                                  )
METRO-WEST ANESTHESIA GROUP, INC.,)
                                  )
        Defendant.                )

                               MEMORANDUM AND ORDER

       This matter is before the Court on Defendant’s Motion for Sanctions (Doc. 37), to which

Plaintiff responded (Doc. 40/41), and Defendant replied (Doc. 42). A hearing on the Motion was

held on March 6, 2025 in which the parties appeared by counsel. For the reasons set forth below,

the Motion is GRANTED.

I.     Background

       Plaintiff Taren Rutz alleges that she was discriminated against on account of her religion

when her employment with Metro-West Anesthesia Group, Inc. was terminated on December 31,

2021 because she requested an accommodation to being subjected to weekly testing for the

COVID-19 virus (Doc. 1-1). Plaintiff seeks compensatory and punitive damages, alleging that

Defendant’s actions caused “costs seeking alternate income, pain and suffering, emotional distress,

humiliation, upset, damage to reputation, deprivation of civil rights, and in other respects” (Doc.

1-1, pp. 7-8). After this matter was removed from state court, a Case Management Order was

entered setting forth a February 10, 2025 discovery deadline (Doc. 21).

       Defendant first informed the Court that there was a discovery dispute in October, 2024. At

that time, Defendant represented that Plaintiff had not timely responded to requests to produce and



                                           Page 1 of 7
Case: 4:23-cv-01729-JMB              Doc. #: 46         Filed: 03/27/25        Page: 2 of 7 PageID #: 301




interrogatories that were served on August 7, 2024. At a hearing held on October 15, 2024,

Plaintiff’s counsel represented to the Court that some personal issues were diverting her attention

from this case but that she would have responses by the end of the week. Accordingly, on October

16, 2024, Plaintiff was ordered to respond to the outstanding discovery by close-of-business on

October 18, 2024 (Doc. 32).1 There was no suggestion that any of Defendant’s requests were

objectionable.

        In January, 2025, Defendant again contacted chambers indicating that some discovery

responses were still outstanding and stating that Plaintiff’s responses were incomplete. Defendant

represented, and Plaintiff does not dispute, that she did not respond to Defendant’s discovery

requests until October 20, 2024 (requests to produce) and November 4, 2024 (interrogatories),

after the Court imposed deadline. Defendant further represented, and Plaintiff does not dispute,

that she did not fully respond to the discovery requests; Plaintiff did not provide releases for

medical, work, and tax records, provided documents that were unreadable, and failed to identify

which documents were responsive to which requests. A hearing was held on January 30, 2025

(Doc. 35). At that hearing, Plaintiff represented that she could complete discovery within a few

days. In a subsequent Order, Plaintiff was directed to serve full and complete responses consistent

with the Federal Rules by February 7, 2025. Plaintiff was warned that the failure to do so may

result in sanctions.

        In its motion for sanctions, Defendant states that Plaintiff provided additional discovery

but that the responses are deficient. In particular, Plaintiff provided documents that were not Bates

stamed and did not indicate to which request to produce they were responsive. In addition,



1
 The Court implicitly excused Plaintiff’s failure to appear at the October 14, 2024 hearing in person and permitted
her to appear by telephone.


                                                  Page 2 of 7
Case: 4:23-cv-01729-JMB          Doc. #: 46      Filed: 03/27/25      Page: 3 of 7 PageID #: 302




Defendant states that Plaintiff has not provided medical records nor medical record authorizations.

Finally, Defendant notes that Plaintiff has not provided the correct IRS form for the release of her

relevant tax records. In response, Plaintiff does not address the lack of labeling, states that the

medical records are held by a third party and out of her control, and indicated that she did provide

an IRS form.

       Defendant has provided a detailed timeline of its attempts to acquire discovery in its reply

brief before, during, and after the entry of the Court’s Orders (Doc. 42). While that timeline will

not be repeated in full here, it is hereby adopted and incorporated herein. What is notable about

the summary is Plaintiff’s lack of communication and failure to follow through with promised

discovery on the dates indicated. Defendant further states that Plaintiff still has not provided some

medical records and that the IRS form that she provided is the incorrect form (even though

Defendant had provided the correct form on a number of occasions). At a hearing on the Motion

for Sanctions held on March 6, 2025, Defendant reiterated its position that this matter should be

dismissed as a sanction for Plaintiff’s failure to provide discovery. Defendant pointed out, in

particular, that Plaintiff provided some medical records but failed to sign the authorizations for the

release of the records. Those records are not authenticated and Defendant cannot be certain that

Plaintiff produced all relevant records. As a result, Defendant will be required to go through the

unnecessary expense of authenticating the documents through deposition or other means.

II.    Standard

       Federal Rule of Civil Procedure 37(b)(2) provides that:

       (A) For Not Obeying a Discovery Order. If a party or a party’s officer, director, or
       managing agent—or a witness designated under Rule 30(b)(6) or 31(a)(4)— fails
       to obey an order to provide or permit discovery, including an order under Rule
       26(f), 35, or 37(a), the court where the action is pending may issue further just
       orders. They may include the following:



                                             Page 3 of 7
Case: 4:23-cv-01729-JMB          Doc. #: 46      Filed: 03/27/25      Page: 4 of 7 PageID #: 303




               (i) directing that the matters embraced in the order or other
               designated facts be taken as established for purposes of the action,
               as the prevailing party claims;
               (ii) prohibiting the disobedient party from supporting or opposing
               designated claims or defenses, or from introducing designated
               matters in evidence;
               (iii) striking pleadings in whole or in part;
               (iv) staying further proceedings until the order is obeyed;
               (v) dismissing the action or proceeding in whole or in part;
               (vi) rendering a default judgment against the disobedient party; or
               (vii) treating as contempt of court the failure to obey any order
               except an order to submit to a physical or mental examination.

Discovery sanctions are reviewed for an abuse of discretion. Comstock v. UPS Ground Freight,

Inc., 775 F.3d 990, 992 (8th Cir. 2014). That discretion narrows the more severe the sanction.

Hawkeye Gold, LLC v. China National Materials Industry Import and Export Corp., 89 F.4th 1023,

1037 (8th Cir. 2023). Dismissal of a complaint for the failure to obey a Court order is permitted

only where there is “an order compelling discovery, a willful violation of the order, and prejudice.”

Id. (quotation marks and citation omitted). Prior to considering dismissal, “the court must

investigate whether a sanction less extreme than dismissal would suffice, unless the party’s failure

was deliberate or in bad faith.” Id. (emphasis, quotation marks, and citation omitted). In imposing

lesser sanctions, a finding of willfulness or bad faith is not required. See Vanderberg v. Petco

Animal Supplies Stores, Inc., 906 F.3d 698 n.4 (8th Cir. 2018).

III.   Discussion

       Defendant argues that Plaintiff’s conduct is in bad faith and willful because of the many

broken promises to provide discovery, failure to fully comply with the Court’s Orders, failure to

acquire her medical records from Mercy for more than 6 months, failure to provide LifeQuest

medical records until February 18, 2025, and failure to provide the correct IRS form 4506 (and not

Form 4506-T which Plaintiff signed), which Defendant provided to Plaintiff. Certainly, the

communication between the parties show that Defendant attempted to acquire the information in

                                            Page 4 of 7
Case: 4:23-cv-01729-JMB          Doc. #: 46      Filed: 03/27/25      Page: 5 of 7 PageID #: 304




a timely manner but that Plaintiff either failed to timely provide the information as promised, failed

to respond to communications, and otherwise provided discovery that was unreadable, in a

haphazard manner, or that did not inform Defendant of the requests to which they respond.

Plaintiff provides no tenable excuse for her failure to follow the Federal Rules, to provide

discovery in a timely manner, or for providing discovery in a manner than would multiply

Defendant’s costs.

       At the October 15th hearing, Plaintiff represented that personal issues prevented responses

to discovery. While unfortunate, this does not excuse the failure to comply with the Court’s

October 16th Order, the deadline in which was set based on Plaintiff’s own representation of when

she would be able to fully respond to discovery. At the January 30th hearing, Plaintiff provided

no additional excuse for her non-performance and this Court again set a deadline with the parties’

input. Plaintiff’s subsequent statements in her response (Doc. 41) that she eventually provided

some untimely discovery responses misses the mark; the responses were already late in violation

of the Federal Rules and this Court’s Order. Plaintiff’s statements that she does not have control

over third party records also misses the mark; Plaintiff had at least 6 months to provide the

necessary authorizations for the records. Indeed, Plaintiff’s lack of urgency and belief that the

Court’s Orders are merely “requests” (Doc. 41, p. 2) display a concerning lack of professionalism.

       At the March 6, 2025 hearing, Plaintiff was again given the opportunity to explain what

cause prevented her from fully responding to discovery requests in a timely and appropriate

manner. In response, Plaintiff apologized and then inexplicably stated that she was trying to save

time and Defendant’s costs by attempting to acquire records by herself.              This excuse is

confounding because Plaintiff admits that she was wholly unsuccessful in attempting to acquire




                                             Page 5 of 7
Case: 4:23-cv-01729-JMB          Doc. #: 46       Filed: 03/27/25      Page: 6 of 7 PageID #: 305




Plaintiff’s medical records for months. Moreover, Plaintiff could not state why she told Defendant

and the Court that she would provide documents when she never actually had them.

       This Court finds that Plaintiff’s conduct is willful and in bad faith. Plaintiff’s counsel

appears to be, at best, too busy or preoccupied or unable to give this matter the attention it deserves

or, at worst, unprofessional and untruthful. Plaintiff deliberately misinformed the Court on at least

two occasions that she was able to fully respond to discovery requests by a date certain. Plaintiff

deliberately misinformed Defendants as to when she would provide missing releases and

documents on multiple occasions. Plaintiff failed to comply with two explicit orders of the Court.

Plaintiff was warned of the consequences of failing to respond to the Court’s Orders but still did

not provide all discovery responses. Plaintiff’s conduct is deliberate, in bad faith, and willful.

       In addition, the delay and the inherent costs related to seeking discovery responses on

multiple occasions, attending three hearings, and constantly following up on discovery responses,

has prejudiced Defendant. Defendant notes that it spent at least 30 attorney hours on this avoidable

discovery dispute due to Plaintiff’s lack of forthrightness and follow through. Defendant further

has represented that it must now, and unnecessarily because Plaintiff simply failed to sign the

authorizations, employ depositions or other avenues in order to determine whether Plaintiff has

provided all documents and that those documents are authentic.            The delay occasioned by

Plaintiff’s conduct, the multiplication of proceedings that results from Plaintiff’s conduct, and her

lack of a reasonable excuse as to her conduct, renders her behavior prejudicial.

       In so finding the Court has considered lesser sanctions. The discovery that Plaintiff should

have timely and fully provided related to damages. Striking damages, or any part of Plaintiff’s

pleadings, would have the same practical effect as dismissing this lawsuit. Similarly, excluding

evidence, such as Plaintiff’s medical and income evidence, would achieve the same result.



                                             Page 6 of 7
Case: 4:23-cv-01729-JMB          Doc. #: 46      Filed: 03/27/25      Page: 7 of 7 PageID #: 306




Therefore, it is just and proper for the Court to impose the sanction of dismissal pursuant to Rule

37 and this Court’s inherent power to enforce its own orders.

       Finally, Plaintiff’s counsel shall pay Defendant’s reasonable expenses as allowed by Rule

37(b)(2)(C). Plaintiff’s counsel has provided no substantial justification or other reason that would

make an award of expenses unjust. At the March 6, 2025 hearing, Defendant represented that it

spent at least 30 attorney hours on this discovery dispute at a rate of $250.00 per hour. Plaintiff

offered no objections to the requested amount.

IV.    Conclusion

       Accordingly, the following is hereby ORDERED:

1. Defendant’s Motion for Sanctions (Doc. 37) is GRANTED.

2. This matter is DISMISSED with prejudice as a sanction for Plaintiff’s failure to comply with

the Rules of Civil Procedure and the Orders of this Court.

3. Plaintiff’s counsel shall pay Defendant’s reasonable expenses in seeking compliance with the

Rules and the Orders of this Court. Defendant shall provide an affidavit setting forth its reasonable

expenses and costs within thirty (30) days of this Order. Any supporting documentation may be

filed under seal if they contain confidential information.



                                                      /s/ John M. Bodenhausen
                                                      JOHN M. BODENHAUSEN
                                                      UNITED STATES MAGISTRATE JUDGE

Dated this 27th day of March, 2025




                                            Page 7 of 7
